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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK LONG ISLAND OFFICE

UNITED STATES OF AMERICA INDICTMENT

- against - Cr. nol ’ R24 59 : j

(T. 18, U.S.C., §§ 2251(a), 2251 (e),

JACOB ISRAEL WALDEN, 2252(a)(2), 2252(a)(4)(B), 2252(b)(1),
2252(b)(2), 2253(a), 2253(b) and 3551 et
Defendant. seq.; T. 21, U.S.C., § 853(p))
sooeeeceeeeeaeeeeeeeeseeeee x BROWN, J.
THE GRAND JURY CHARGES: SHIELDS MJ
COUNT ONE

(Sexual Exploitation of a Child — Jane Doe #1)

l. In or about and between August 2023 and October 2023, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant
JACOB ISRAEL WALDEN did employ, use, persuade, induce, entice and coerce a minor, to
wit: Jane Doe #1, an individual whose identity is known to the Grand Jury, to engage in sexually
explicit conduct, and knowingly and intentionally attempt to do so, for the purpose of producing
one or more visual depictions of such conduct and for the purpose of transmitting a live visual
depiction of such conduct, knowing and having reason to know that such visual depictions would
be transported and transmitted using any means and facility of interstate and foreign commerce
and which would be in and affecting interstate and foreign commerce, which visual depictions
were produced and transmitted using materials that had been mailed, shipped and transported in

and affecting interstate and foreign commerce by any means, including by computer, and which
visual depictions were actually transported and transmitted using a means and facility of
interstate and foreign commerce and in and affecting interstate and foreign commerce.
(Title 18, United States Code, Sections 2251(a), 2251(e) and 3551 et seq.)

COUNT TWO
(Sexual Exploitation of a Child — Jane Doe #2)

2. In or about and between August 2023 and September 2023, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant JACOB ISRAEL WALDEN did employ, use, persuade, induce, entice and coerce a
minor, to wit: Jane Doe #2, an individual whose identity is known to the Grand Jury, to engage
in sexually explicit conduct, and knowingly and intentionally attempt to do so, for the purpose of
producing one or more visual depictions of such conduct and for the purpose of transmitting a
live visual depiction of such conduct, knowing and having reason to know that such visual
depictions would be transported and transmitted using any means and facility of interstate and
foreign commerce and which would be in and affecting interstate and foreign commerce, which
visual depictions were produced and transmitted using materials that had been mailed, shipped
and transported in and affecting interstate and foreign commerce by any means, including by
computer, and which visual depictions were actually transported and transmitted using a means
and facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce,

(Title 18, United States Code, Sections 2251(a), 2251(e) and 3551 et seq.)

COUNT THREE
(Receipt of Child Pornography)

3. On or about January 2, 2024, within the Eastern District of New York and

elsewhere, the defendant JACOB ISRAEL WALDEN did knowingly and intentionally receive
one or more visual depictions, to wit: the digital videos and images in links ending in
(a) #iH4d50GOK Y WGIz6HiBrtYA; (b) #_ykfsETyniPMSgJGUVprCw; (c) #_Pljl-
ROF3yT4_dQY17AAg; (d) #3c4ecf6LT3 gqHqPKBrhzyA; (e) 4IBEiQLac7IVXc87EsclozQ; and
(f) G7F2X7sWx3hlOGJk, using a means and facility of interstate and foreign commerce, and
which visual depictions had been mailed, and had been shipped and transported in and affecting
interstate and foreign commerce, and which contained materials which had been mailed and so
shipped and transported, by any means including by computer, the production of such visual
depictions having involved the use of one or more minors engaging in sexually explicit conduct,
and such visual depictions having been of such conduct.

(Title 18, United States Code, Sections 2252(a)(2), 2252(b)(1) and 3551 et seq.)

COUNT FOUR
(Possession of Child Pornography)

4. On or about April 21, 2024, within the Eastern District of New York and
elsewhere, the defendant JACOB ISRAEL WALDEN did knowingly and intentionally possess
matter which contained one or more visual depictions, to wit: digital videos and images stored on
an Apple iPhone with serial number L6GHO9G3NHR, that had been mailed, and had been shipped
and transported using one or more means and facilities of interstate and foreign commerce and in
and affecting interstate and foreign commerce, and which were produced using materials which
had been mailed and so shipped and transported, by any means, including by computer, the
production of such visual depictions having involved the use of one or more minors engaging in
sexually explicit conduct, and such visual depictions having been of such conduct.

(Title 18, United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and 3551

et seq.)
COUNT FIVE
(Access with Intent to View Child Pornography)

5. In or about and between January 2024 and April 2024, both dates being
approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant
JACOB ISRAEL WALDEN did knowingly and intentionally access with intent to view matter
which contained one or more visual depictions, to wit: digital videos and images in Mega
account 27G-EMG3BJG, that had been mailed, and had been shipped and transported using one
or more means and facilities of interstate and foreign commerce and in and affecting interstate
and foreign commerce, and which were produced using materials which had been mailed and so
shipped and transported, by any means including by computer, the production of such visual
depictions having involved the use of one or more minors engaging in sexually explicit conduct,
and such visual depictions having been of such conduct.

(Title 18, United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and 3551
et seq.)

COUNT SIX
(Access with Intent to View Child Pornography)

6. In or about and between December 2023 and January 2024, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant JACOB ISRAEL WALDEN did knowingly and intentionally access with intent to
view matter which contained one or more visual depictions, to wit: digital videos and images in
Mega account VSGG2HJXHb0, that had been mailed, and had been shipped and transported using
one or more means and facilities of interstate and foreign commerce and in and affecting
interstate and foreign commerce, and which were produced using materials which had been

mailed and so shipped and transported, by any means including by computer, the production of
such visual depictions having involved the use of one or more minors engaging in sexually
explicit conduct, and such visual depictions having been of such conduct.
(Title 18, United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and 3551

et seq.)
CRIMINAL FORFEITURE ALLEGATION

7. The United States hereby gives notice to the defendant that, upon his
conviction of any of the offenses charged herein, the government will seek forfeiture in
accordance with Title 18, United States Code, Section 2253(a), which requires the forfeiture of:
(a) any visual depiction described in Sections 2251, 2251A, 2252, 2252A, 2252B, or 2260 of
Title 18, United States Code, or any book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, which was produced, transported, mailed, shipped or
received in violation of such sections; (b) any property, real or personal, constituting, or
traceable to, gross profits or other proceeds obtained from such offenses; and (c) any property,
real or personal, used or intended to be used to commit or to promote the commission of such
offenses or any property traceable to such property, including but not limited to one Apple
iPhone 15 Pro Max with serial number LGHO9G3NHR, seized on or about April 21, 2024 in
Queens County, New York.

8. If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:

(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or
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(e) has been commingled with other property which cannot be divided
without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 2253(b), to seek forfeiture of any other
property of the defendant up to the value of the forfeitable property described in this forfeiture
allegation.
(Title 18, United States Code, Sections 2253(a) and 2253(b); Title 21, United

States Code, Section 853(p))

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FOREPERSON

By: Uitman GS. Knapp, AUSA
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UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
